Case 1:16-cv-00398-NT Document 166 Filed 01/18/19 Page 1 of 13              PageID #: 523




                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE


WALTER WILLIAM MOORE, a/ka               )
Nikki Natasha Petrovickov,               )
                                         )
             Plaintiff                   )
                                         )
      v.                                 )      1:16-cv-00398-NT
                                         )
MAINE DEPARTMENT OF                      )
CORRECTIONS, et al.,                     )
                                         )
             Defendants                  )


                  RECOMMENDED DECISION ON DEFENDANTS’
                     MOTION FOR SUMMARY JUDGMENT

      In this action, Plaintiff, an inmate at the Maine State Prison, alleges Defendants did

not provide adequate treatment for gender dysphoria. (Complaint at 3 – 4, ECF No. 1.) The

matter is before the Court on the Motion for Summary Judgment of Defendants

Magnusson, Fitzpatrick, Merrill, and Liberty, officials or former officials of the prison.

(ECF No. 133.)      Following a review of the summary judgment record and after

consideration of parties’ arguments, I recommend the Court grant Defendants’ motion for

summary judgment.

                           SUMMARY JUDGMENT STANDARD

      “The court shall grant summary judgment if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a matter

of law.” Fed. R. Civ. P. 56(a). “After the moving party has presented evidence in support

of its motion for summary judgment, ‘the burden shifts to the nonmoving party, with
Case 1:16-cv-00398-NT Document 166 Filed 01/18/19 Page 2 of 13                             PageID #: 524




respect to each issue on which he has the burden of proof, to demonstrate that a trier of fact

reasonably could find in his favor.’” Woodward v. Emulex Corp., 714 F.3d 632, 637 (1st

Cir. 2013) (quoting Hodgens v. Gen. Dynamics Corp., 144 F.3d 151, 158 (1st Cir. 1998)).

        A court reviews the factual record in the light most favorable to the non-moving

party, resolving evidentiary conflicts and drawing reasonable inferences in the non-

movant’s favor. Perry v. Roy, 782 F.3d 73, 77 (1st Cir. 2015). If a court’s review of the

record reveals evidence sufficient to support findings in favor of the non-moving party on

one or more of the Plaintiff’s claims, a trial-worthy controversy exists, and summary

judgment must be denied as to any supported claim. Id. (“The district court’s role is limited

to assessing whether there exists evidence such that a reasonable jury could return a verdict

for the nonmoving party.” (internal quotation marks omitted)). Unsupported claims are

properly dismissed. Celotex Corp. v. Catrett, 477 U.S. 317, 323-24 (1986).

                                  SUMMARY JUDGMENT RECORD

        When presented with a summary judgment motion, a court ordinarily considers only

the facts included in the parties’ statements of material facts, which statements must be

supported by citations to evidence of record. Federal Rule of Civil Procedure 56(c) and

District of Maine Local Rule 56(b) – (d) require the specific citation to record evidence.

In addition, Local Rule 56 establishes the manner by which parties must present their

factual statements and the evidence on which the statements depend. A party’s pro se status

does not relieve the party of the obligation to comply with the court’s procedural rules. 1


1
  “[T]he Court is required to maintain a strict neutrality between opposing parties and even though a more
forgiving reading may be appropriate for a pro se party in the summary judgment context, it is also true that
‘[j]udges and magistrate judges who review these filings must be able to rely on procedural rules so as to
                                                     2
Case 1:16-cv-00398-NT Document 166 Filed 01/18/19 Page 3 of 13                         PageID #: 525




Ruiz Rivera v. Riley, 209 F.3d 24, 27 – 28 & n. 2 (1st Cir. 2000); Marcello v. Maine, 489

F. Supp. 2d 70, 77 (D. Me. 2007).

        By rule, a party seeking summary judgment must file, in addition to its summary

judgment motion, a supporting statement of material facts setting forth each fact in a

separately numbered paragraph, with each factual statement followed by a citation to

evidence of record that supports the factual statement. D. Me. Loc. R. 56(b). A party

opposing a motion for summary judgment must file an opposing statement in which it

admits, denies, or qualifies the moving party’s statements by reference to each numbered

paragraph, with citations to supporting evidence, and in which it may set forth additional

facts, in separately numbered paragraphs, with citation to supporting evidence. D. Me.

Loc. R. 56(c). If an additional statement is introduced by the non-moving party, the moving

party must file a reply statement in which it admits, denies, or qualifies the non-moving

party’s additional statements by reference to each numbered paragraph, with citations to

supporting evidence. D. Me. Loc. R. 56(d).

        “Facts contained in a supporting or opposing statement of material facts, if

supported by record citations as required by this rule, shall be deemed admitted unless

properly controverted.” D. Me. Loc. R. 56(f). Additionally, “[t]he court may disregard

any statement of fact not supported by a specific citation to record material properly

considered on summary judgment.” Id. Finally, “[t]he court shall have no independent




avoid becoming the lawyer for the unrepresented [party] or devoting an excessive portion of their time to
such cases.’” United States v. Baxter, 841 F. Supp. 2d 378, 383 (D. Me. 2012) (quoting Clarke v. Blais,
473 F. Supp. 2d 124, 129 (D. Me. 2007)).
                                                   3
Case 1:16-cv-00398-NT Document 166 Filed 01/18/19 Page 4 of 13                                   PageID #: 526




duty to search or consider any part of the record not specifically referenced in the parties’

separate statement of facts.” Id.

        Nevertheless, the factual assertions contained in the verified pleadings and affidavits

filed by a pro se litigant generally will be considered in the review of a summary judgment

motion. That is, where a pro se litigant has failed to comply strictly with the summary

judgment rules, this Court has considered the sworn assertions of record. See Clarke v.

Blais, 473 F. Supp. 2d 124, 128 – 30 (D. Me. 2007) (“The First Circuit has not addressed

this notice debate directly, but has said, in the summary judgment context, that

unrepresented plaintiffs’ opposing affidavits and opposition papers are to be read

‘liberally.’” (citing Posadas de Puerto Rico, Inc. v. Radin, 856 F.2d 399, 401 (1st Cir.

1988), and Mas Marques v. Digital Equip. Corp., 637 F.2d 24, 27 (1st Cir. 1980));

Demmons v. Tritch, 484 F. Supp. 2d 177, 182 – 83 (D. Me. 2007).

                            FACTUAL AND PROCEDURAL BACKGROUND2

        Plaintiff is a prisoner incarcerated at the Maine State Prison. Plaintiff identifies as

a transgendered individual, born biologically a male but identifying as a female. (DSMF

¶ 1; PSMF ¶¶ 1, 2.) Prior to beginning a sentence in February 2005, Plaintiff was taking

hormone medication to treat gender dysphoria. (DSMF ¶ 2; Complaint at 3.) The prison’s

medical personnel did not provide Plaintiff with hormone medication at the prison. (DSMF


2
  The following facts are drawn primarily from Defendants’ statement of material facts. (ECF No. 132.)
Plaintiff did not initially file a response to Defendants’ factual statements; instead, Plaintiff filed an affidavit
attesting to seven of Plaintiff’s factual statements. (ECF No. 152-1). After Defendants noted Plaintiff’s
submission did not comply with the applicable procedural rules, Plaintiff substantially complied with Local
Rule 56(c) in a sur-reply. (ECF No. 163). Accordingly, I will consider Plaintiff’s responses to Defendants’
statements of fact, and because I interpret Plaintiff’s response affidavit to be Plaintiff’s statement of material
facts, I will consider the statements.
                                                         4
Case 1:16-cv-00398-NT Document 166 Filed 01/18/19 Page 5 of 13               PageID #: 527




¶ 2; Complaint at 3.) In November 2008, Plaintiff was sent to the Riverview Psychiatric

Hospital, where hormones were prescribed, but the prison’s medical providers

discontinued the hormones upon Plaintiff’s return to the prison. (DSMF ¶ 3; Complaint at

3.) The Warden of the prison (Defendant Liberty) and the other security and administrative

prison staff defer to the judgment of the Department of Corrections’ contracted medical

providers regarding the necessity of medical treatment and the type of treatment prescribed.

(DSMF ¶ 10.)

       In November 2015, the Department adopted Policy 23.8, “Management of

Transgender and Intersex Prisoners and Residents.” (DSMF ¶ 4.) The policy creates

protocols for the assessment, placement, management and treatment of prisoners with

gender dysphoria or who are transgender or intersex. (Id.) The policy establishes a multi-

disciplinary team, including the chief administrative officer of the facility, security

personnel, and medical and mental health providers. (Id.) The policy addresses issues

such as housing and security concerns, strip searches, allowed property and clothing, and

medical and mental health treatment. (Id.)

       On December 3, 2015, pursuant to the transgender policy, a multi-disciplinary team

was convened to provide recommendations regarding Plaintiff. (Id. ¶ 5.) The team

discussed such topics as Plaintiff’s assigned housing, Plaintiff’s requests for cosmetics and

female clothing, appropriate forms of address, and medical diagnosis.                   (Id.)

Comprehensive minutes were kept at such meetings. (Id. ¶ 6). At the first meeting, the

prison’s medical director, Robert Clinton, M.D., advised that hormones had not been



                                             5
Case 1:16-cv-00398-NT Document 166 Filed 01/18/19 Page 6 of 13               PageID #: 528




prescribed for Plaintiff because Plaintiff did not have an underlying medical condition that

required medical treatment. (Id. ¶ 7.)

       Similar multi-disciplinary team meetings were held on January 22, February 12,

May 10, and June 30, 2016; February 2, June 15, and September 19, 2017; and January 11

and March 22, 2018. (Id. ¶ 5.) At one meeting, Daniel Bannish, a psychologist, reported

that he had received records showing that Plaintiff had received hormone treatment in

Massachusetts before entering the prison. (Id. ¶ 8.) Sarah Miller, also a psychologist,

stated that Plaintiff did not meet the diagnostic criteria for gender dysphoria, but that she

would reevaluate the issue as more information becomes available. (Id.)

       Plaintiff initiated this lawsuit on July 29, 2016, seeking damages and injunctive

relief against the Maine Department of Corrections, the former Commissioner of the

Department of Corrections, the former and current Wardens of the Maine State Prison, and

two administrators of the prison’s medical provider. (Complaint at 1, ECF No. 1; DSMF

¶ 3.) Plaintiff amended the complaint on October 13, 2016. (ECF No. 24.)

       At the multi-disciplinary team meeting on September 19, 2017, the doctors advised

the other team members that Plaintiff had been diagnosed with gender dysphoria and that

hormone treatment would be started. (DSMF ¶ 9; PSMF ¶ 2.) At the next meeting, on

January 11, 2018, the team was advised that Plaintiff was receiving hormones, although

Plaintiff was not satisfied with the type or dosage of the medication. (DSMF ¶ 9.)




                                             6
Case 1:16-cv-00398-NT Document 166 Filed 01/18/19 Page 7 of 13                   PageID #: 529




                                         DISCUSSION

A.     Exhaustion of Administrative Remedies

       Plaintiff claims that Defendants improperly denied or discontinued Plaintiff’s

hormone medication. In addition to a claim for money damages, Plaintiff asks the Court

to order Defendants to arrange for an assessment and treatment. (Complaint at 3.)

Defendants contend Plaintiff failed to exhaust the available administrative remedies and,

therefore, Plaintiff’s claims for monetary damages and injunctive relief are barred.

       Federal law requires a prisoner to exhaust the available administrative remedies

before initiating a lawsuit based on 42 U.S.C. § 1983, or any other federal law. 42 U.S.C.

§ 1997e. Specifically, “[n]o action shall be brought with respect to prison conditions under

section 1983 of this title, or any other Federal law, by a prisoner confined in any jail, prison,

or other correctional facility until such administrative remedies as are available are

exhausted.” 42 U.S.C. § 1997e(a); see also Jones v. Bock, 549 U.S. 199, 211 (2007)

(“There is no question that exhaustion is mandatory under the PLRA [Prison Litigation

Reform Act] and that unexhausted claims cannot be brought in court.”)

       The Supreme Court has held that § 1997e(a) requires “proper exhaustion” of a

prisoner’s administrative remedies. Woodford v. Ngo, 548 U.S. 81, 93 (2006). “Proper

exhaustion demands compliance with an agency’s deadlines and other critical procedural

rules because no adjudicative system can function effectively without imposing some

orderly structure on the course of its proceedings.” Id. at 90 – 91. “Compliance with prison

grievance procedures … is all that is required … to ‘properly exhaust.’” Jones, 549 U.S.



                                               7
Case 1:16-cv-00398-NT Document 166 Filed 01/18/19 Page 8 of 13               PageID #: 530




at 218. “[I]t is the prison’s requirements, and not the PLRA, that define the boundaries of

proper exhaustion.” Id.

       A defendant may raise the § 1997e exhaustion requirement as an affirmative

defense. Id. at 216; see also Ramos v. Patnaude, 640 F.3d 485, 488 (1st Cir. 2011) (“The

Supreme Court made it plain … that exhaustion under § 1997e(a) is not a jurisdictional

condition, and has held it to be an affirmative defense.” (citing Jones, 549 U.S. at 212)).

Because failure to exhaust administrative remedies is an affirmative defense rather than a

jurisdictional issue, initially, Defendants bear the burden of proof. Jones, 549 U.S. at 216.

To satisfy that burden, Defendants must establish “that there was an available

administrative remedy, and that the prisoner did not exhaust that available remedy.” Albino

v. Baca, 747 F.3d 1162, 1172 (9th Cir.) (en banc), cert. denied sub nom., Scott v. Albino,

135 S. Ct. 403 (2014). Thereafter, Plaintiff must present evidence that demonstrates “that

there is something in his particular case that made the existing and generally available

administrative remedies effectively unavailable to him.” Id.

       Exhaustion is required even though the prisoner’s suit seeks monetary damages that

are not available through the prison’s grievance process. Booth v. Churner, 532 U.S. 731,

734 – 35 (2001). Exhaustion is also required even though the claim raises constitutional

claims, such as claims alleging excessive force by prison officials. Woodford, 548 U.S. at

91 n.2; Porter, 534 U.S. at 520. However, “[a] prisoner need not exhaust remedies if they

are not ‘available.’” Ross v. Blake, 136 S. Ct. 1850, 1855 (2016). Thus, “an inmate is

required to exhaust those, but only those, grievance procedures that are ‘capable of use’ to



                                             8
Case 1:16-cv-00398-NT Document 166 Filed 01/18/19 Page 9 of 13                               PageID #: 531




obtain ‘some relief for the action complained of.’” Id. at 1859 (quoting Booth, 532 U.S. at

738).

        In Ross, the Supreme Court identified “three kinds of circumstances in which an

administrative remedy, although officially on the books, is not capable of use to obtain

relief.” Id. “First, … an administrative procedure is unavailable when (despite what

regulations or guidance materials may promise) it operates as a simple dead end—with

officers unable or consistently unwilling to provide any relief to aggrieved inmates.” Id.

(citing Booth, 532 U.S. at 736, and providing as examples a situation in which a handbook

tells prisoners to send a grievance to an officer who then “disclaims the capacity to consider

the grievance,” and a situation where “administrative officials have apparent authority, but

decline ever to exercise it”). Second, “an administrative scheme might be so opaque that

it becomes, practically speaking, incapable of use.” Id. In other words, a process that,

viewed objectively, is too confusing to understand, is not an available process. Id. Third,

an otherwise available grievance process is not available “when prison administrators

thwart inmates from taking advantage of a grievance process through machination,

misrepresentation, or intimidation.” Id. at 1860. 3

        The record establishes that the Maine State Prison has a grievance policy that

provides for an initial attempt at informal resolution of a complaint with medical or mental

health staff, a first-tier grievance with the facility’s Grievance Review Officer, a second-



3 In Ross, the Supreme Court remanded the case for further proceedings where the record suggested that
the commencement of an investigation into prisoner abuse by the prison’s Internal Investigation Unit cut
off any further processing of the prisoner’s related prisoner grievance and foreclosed his access to any relief
through that process. 136 S. Ct. at 1860 – 62.
                                                      9
Case 1:16-cv-00398-NT Document 166 Filed 01/18/19 Page 10 of 13                   PageID #: 532




tier appeal to the Chief Administrative Officer of the facility and, ultimately, a third-tier

appeal to the Commissioner of the Department of Corrections. (DSMF ¶ 11.) According

to Plaintiff, “a number of requests and grievences, [sic] all grievences [sic] were appealed

to the State Commissioner level.” (Complaint at 2.) Defendants, however, have no record

of any third-tier grievance appeals following the denial of hormone treatment to Plaintiff

in 2005 or for the six-month following November 1, 2008.4 (DSMF ¶ 12.) In addition,

Plaintiff’s assertion that after the 2005 hormone decision “I grievenced [sic] immediately

and was shut down by Warden Merrill in middle ’05,” (Complaint at 3) suggests that

Plaintiff’s grievance did not proceed beyond the second level. On this record, one cannot

reasonably conclude that Plaintiff exhausted the administrative remedies. To proceed on

the claims, therefore, Plaintiff must demonstrate that the administrative remedies were not

actually “available.” See Albino, 747 F.3d at 1172; Ross, 136 S. Ct. at 1862 (asking

whether there was “persuasive evidence” of threats, game-playing, or misrepresentations

on a system-wide basis or in the individual case).

       Plaintiff maintains that “there is a known pattern of obstructions of prisoners’

‘grievance rights’ by D.O.C. actors, plus, my own records have been ‘disappeared’ by

D.O.C. actors.” (PSMF ¶ 5.) Plaintiff also argues that the “standard operating procedure”

of Department of Corrections officials is to obstruct the grievance process, and that

“records are ‘lost,’ destroyed or stolen.” (Plaintiff’s Reply at 2, ECF No. 163.) While an

administrative remedy could be deemed unavailable “when prison administrators thwart


4
 In the complaint, Plaintiff alleges the hormone treatments were provided at Riverview Hospital in
November 2008, but stopped when Plaintiff returned to the prison. (Complaint at 3 – 4.)
                                               10
Case 1:16-cv-00398-NT Document 166 Filed 01/18/19 Page 11 of 13                                 PageID #: 533




inmates from taking advantage of a grievance process through machination,

misrepresentation, or intimidation,” Ross, 136 S. Ct. at 1860, the record lacks any evidence

to support such a finding. Other than Plaintiff’s bald assertion regarding a pattern of

obstruction, Plaintiff has not presented any evidence that Defendants made any

misrepresentations about the grievance process, made any threats or otherwise intimidated

Plaintiff, or destroyed any records.

        The record thus establishes that Plaintiff failed to exhaust the available

administrative remedies regarding the claims asserted in this matter.5                           Accordingly,

Plaintiff’s claims are barred.6




5
  Although the record suggests that Plaintiff is not satisfied with the course of treatment, “[t]he courts have
consistently refused to create constitutional claims out of disagreements between prisoners and doctors
about the proper course of a prisoner’s medical treatment” and the Eighth Amendment “does not impose
upon prison administrators a duty to provide care that is ideal, or of the prisoner’s choosing.” Kosilek v.
Spencer, 774 F.3d 63, 82 – 83 (1st Cir. 2014) (quoting Watson v. Caton, 984 F.2d 537, 540 (1st Cir.1993)).
Therefore, to the extent Plaintiff asserts a claim based on a disagreement as to the appropriate course of
treatment for gender dysphoria, Plaintiff has presented no evidence that would support a deliberate
indifference claim regarding the course of treatment even if Plaintiff had satisfied the exhaustion
requirement. Torraco v. Maloney, 923 F.2d 231, 234 (1st Cir. 1991) (where a claim involves a dispute
concerns the choice of a course of treatment, “deliberate indifference may be found where the attention
received is so clearly inadequate as to amount to a refusal to provide essential care.”)
6
  The exhaustion requirement applies “irrespective of the forms of relief . . . .” Booth v. Churner, 532 U.S.
731, 741 n.6 (2001); see also Cronin v. State, No. CIV. 00-0129-P-C, 2000 WL 762206, at *1 (D. Me. May
12, 2000) (recommending dismissal of an action seeking only prospective relief for failing to exhaust).
Plaintiff’s claims for damages and injunctive relief, therefore, are barred. Even if Plaintiff’s claims were
not barred against all of the movants, Defendants Fitzpatrick and Liberty would nevertheless be entitled to
summary judgment. Government officials are only liable for their own misconduct and are not liable under
respondeat superior. Ashcroft v. Iqbal, 556 U.S. 662, 667 (2009). Plaintiff does not allege any specific
wrongdoing by Defendants Fitzpatrick and Liberty. Plaintiff might have named Defendants Fitzpatrick and
Liberty as defendants in their official capacities for the purposes of implementing Plaintiff’s claim for
injunctive relief. See Poirier v. Mass. Dep’t of Corr., 558 F.3d 92, 97 n. 6 (1st Cir. 2009) (“A plaintiff may
seek prospective injunctive relief against a state official, but may not obtain such relief against a state or its
agency because of the sovereign immunity bar of the Eleventh Amendment”). Summary judgment is still
appropriate as to Defendants Fitzpatrick and Liberty, however, because that claim is moot. See infra.


                                                       11
Case 1:16-cv-00398-NT Document 166 Filed 01/18/19 Page 12 of 13                 PageID #: 534




B.     Prospective Relief and Mootness

       Plaintiff also asks the Court to order an assessment and treatment for gender

dysphoria. (Complaint at 3 – 4.) Even if Plaintiff’s claims are not barred by the failure to

satisfy the exhaustion requirement of the PLRA, Plaintiff’s claim for prospective injunctive

relief is moot.

       An issue or a case is said to be moot when a court cannot give effective relief to the

potentially prevailing party. See Church of Scientology of California v. United States, 506

U.S. 9, 12 (1992). A case or issue can be moot at the outset, or a case or issue “not moot

at the outset can become moot because of a change in the fact situation underlying the

dispute, making relief now pointless.” Horizon Bank & Tr. Co. v. Massachusetts, 391 F.3d

48, 53 (1st Cir. 2004).

       Plaintiff’s claim for prospective relief that Defendants assess Plaintiff and provide

treatments for gender dysphoria “has become moot” because Plaintiff has been assessed

and is now receiving hormone treatments. As the result of policy changes at the prison and

medical determinations following the beginning of the parties’ dispute, Plaintiff achieved

the result requested, which means “there is no ongoing conduct to enjoin.” See Town of

Portsmouth, R.I. v. Lewis, 813 F.3d 54, 58 (1st Cir. 2016).

       Although Defendants have arranged for the assessment and treatment of Plaintiff,

Plaintiff could maintain a request for injunctive relief if the “voluntary cessation” exception

to the mootness doctrine applied. “This exception can apply when a defendant voluntarily

ceases the challenged practice in order to moot the plaintiff’s case, and there exists a

reasonable expectation that the challenged conduct will be repeated following dismissal of

                                              12
Case 1:16-cv-00398-NT Document 166 Filed 01/18/19 Page 13 of 13                 PageID #: 535




the case.” Id. at 59 (internal quotations, citations, and modifications omitted). The purpose

of this exception is “to avoid a manipulative litigant immunizing itself from suit

indefinitely, altering its behavior long enough to secure a dismissal and then reinstating it

immediately after.” Am. Civil Liberties Union of Massachusetts v. U.S. Conference of

Catholic Bishops, 705 F.3d 44, 54–55 (1st Cir. 2013). Here, the record lacks any evidence

to suggest that Defendants, having an established transgender policy and having

determined that Plaintiff has a genuine medical need, would cease providing treatments

after termination of this case. The “voluntary cessation” exception, therefore, does not

apply, and Plaintiff’s claim for injunctive relief is moot.

                                        CONCLUSION

       Based on the foregoing analysis, I recommend the Court grant Defendants’ Motion

for Summary Judgment. (ECF No. 133.)


                                          NOTICE

              A party may file objections to those specified portions of a magistrate
       judge's report or proposed findings or recommended decisions entered
       pursuant to 28 U.S.C. 636(b)(1)(B) for which de novo review by the district
       court is sought, together with a supporting memorandum, within fourteen
       (14) days of being served with a copy thereof. A responsive memorandum
       shall be filed within fourteen (14) days after the filing of the objection.

              Failure to file a timely objection shall constitute a waiver of the right
       to de novo review by the district court and to appeal the district court's order.

                                                   /s/ John C. Nivison
                                                   U.S. Magistrate Judge
       Dated this 18th day of January, 2019.




                                              13
